







		NO. 12-09-00090-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



§
	APPEAL FROM THE 321ST


IN THE INTEREST OF D.M.J.,

A CHILD§
	JUDICIAL DISTRICT COURT OF



§
	SMITH COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b).  The
trial court signed its judgment on July 1, 2008, making the clerk's record due in this appeal on
September 2, 2008.  After granting the motions for extensions of time filed by the Smith County
District Clerk, the deadline was extended to June 22, 2009.  On June 16, 2009, the district clerk
informed this court that Appellant had failed to pay for the preparation of the clerk's record and had
not made any payment arrangements.  The clerk also stated that Appellant is not entitled to appeal
without paying the preparation fee.  

	On June 18, 2009, this court extended the time for filing the clerk's record to July 16, 2009. 
On the same date, Appellant was notified that the appeal would be dismissed unless Appellant, on
or before June 29, 2009, provided this court with proof of full payment to the clerk.  The deadline
for furnishing proof of payment to this court has passed, and Appellant has failed to provide proof
of full payment for preparation of the clerk's record.  Accordingly, Appellant's appeal is dismissed
for want of prosecution pursuant to Texas Rule of Appellate Procedure 42.3(b).

Opinion delivered July 8, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


	

										

(PUBLISH)


